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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE: Elfrido Mateo a/k/a Elfrido Manuel
 Mateo and Lizette Mateo a/k/a Lizette              BANKRUPTCY CASE NUMBER
 LaTorre                                            18-18455/REF
        Debtors.
                                                    CHAPTER 7
 Nationstar Mortgage LLC d/b/a Mr. Cooper
       Movant,                                      11 U.S.C. § 362
 v.
                                                    January 31, 2019 at 9:30 AM
 Elfrido Mateo a/k/a Elfrido Manuel Mateo
 and Lizette Mateo a/k/a Lizette LaTorre            Courtroom # 1
       Debtors/Respondents.

 Lynn E. Feldman, Trustee
      Additional Respondent.
                                            ORDER

         AND NOW, at the Eastern District of Pennsylvania, upon the consideration of the
Motion of Movant for Relief from the Automatic Stay (the "Motion"), and the failure of Debtors
to file an answer, appear or otherwise respond to the Motion, and for good cause shown, it is

         ORDERED AND DECREED that the Automatic Stay of all proceedings, as provided
under Section 362 of the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005
(the "Code"), 11 U.S.C. § 362, is lifted to allow Movant, or its successors, if any, to proceed with
its rights under its loan documents for the property located at 320 North 14th Street, Allentown,
PA 18102; and it is

       FURTHER ORDERED that Rule 4001(a)(3) is not applicable and Movant, or its
successors, if any, may immediately implement this order.



                                              BY THE COURT:

  Date: February 6, 2019
                                              ___________________________________
                                              HONORABLE RICHARD E. FEHLING
                                              UNITED STATES BANKRUPTCY JUDGE
